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                      IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF COLORADO

Case No. 10-CR-00210-REB

UNITED STATES OF AMERICA,

       Plaintiff,

v.

SHANE LEE ALLEN,

       Defendant.



             FINDINGS OF FACT, CONCLUSIONS OF LAW and REASONS
                          FOR ORDER OF DETENTION

       This matter comes before the court on May 2, 2013, for preliminary hearing on
the Petition to Revoke Supervised Release and Detention Hearing. The defendant
waived his preliminary hearing on the Petition to Revoke Supervised Release. The
court has further taken judicial notice of the court’s file and has considered applicable
Federal Rules of Criminal Procedure. The court now being fully informed makes the
following findings of fact, conclusions of law and order. .

       As to the issue of probable cause, I find probable cause has been established
that the defendant has violated his supervised release as alleged in the Petition to
Revoke Supervised Release based upon defendant’s waiver of preliminary hearing.

       Under Federal Rule of Criminal Procedure 32.1, the court “may release or detain
the [defendant] under 18 U.S.C. § 3143(a) pending further proceedings. The burden of
establishing that the person will not flee or pose a danger to any other person or to the
community rests with the [defendant].” Here, the defendant has not sustained his
burden of establishing that he will not flee or fail to appear at future proceedings.

       Under the circumstances, I find that no condition or combination of conditions of
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release will reasonably assure the appearance of the defendant. Accordingly, I order
the defendant detained without bond.

                    Done this 2nd day of May 2013.

                                        BY THE COURT

                                        S/ Michael J. Watanabe
                                        Michael J. Watanabe
                                        U.S. Magistrate Judge
